    Case 1:19-cv-03110-TOR   ECF No. 190-1    filed 10/25/23   PageID.3001 Page 1 of 27




1   Charles M. Tebbutt, WSBA #47255
    Jonathan D. Frohnmayer, pro hac vice
2   Law Offices of Charles M. Tebbutt, P.C.
    3026 NW Esplanade
3   Seattle, WA 98117
    (541) 285-3717
4
    Additional Counsel Identified on Signature Page to Plaintiffs’ Reply
5
                   IN THE UNITED STATES DISTRICT COURT
6                FOR THE EASTERN DISTRICT OF WASHINGTON

 7 COMMUNITY ASSOCIATION FOR                 Case No. 1:19-CV-3110-TOR
   RESTORATION OF THE
 8 ENVIRONMENT, INC., a Washington          SECOND DECLARATION OF
   non-profit corporation; FRIENDS OF       CHARLES M. TEBBUTT IN SUPPORT
 9 TOPPENISH CREEK, a Washington non- OF PLAINTIFFS’ MOTION FOR
   profit corporation; and CENTER FOR       AWARD OF ATTORNEYS’ AND
   FOOD SAFETY, a Washington, D.C. non- EXPERT WITNESSES’ FEES AND
10 profit corporation,
                                            COSTS
11              Plaintiffs,
       v.
12
   AUSTIN JACK DECOSTER, an individual,
13 DECOSTER ENTERPRISES, LLC, a
   Delaware limited liability company,
14 AGRICUTURAL INVESTMENT-FUND
   II, LLC, a Delaware limited liability
15 company, IDAHO AGRI INVESTMENTS,
   LLC, an Idaho limited liability company,
16 IDAHO DAIRY HOLDINGS, LLC, an
   Idaho limited liability company, DRY
17 CREEK DAIRIES, LLC, an Idaho limited
   liability company, WASHIGNTON AGRI
18 INVESTMENTS, LLC, a Washington
   limited liability company, WASHINGTON
19 DAIRY HOLDINGS, LLC, a Washington
   limited liability company, DBD
20 WASHINGTON, LLC, a Washington

    SECOND DECLARATION OF CHARLES M. TEBBUTT IN SUPPORT OF
    PLAINTIFFS’ MOTION FOR AWARD OF FEES AND COSTS     -1
     Case 1:19-cv-03110-TOR     ECF No. 190-1     filed 10/25/23   PageID.3002 Page 2 of 27




 1 limited liability company; and SMD, LLC, a
   Washington limited liability company,
 2              Defendants.

 3
           I, Charles M. Tebbutt, hereby declare as follows:
 4
           1.     I am lead counsel for Plaintiffs in the above-captioned cases. I make
 5
     this declaration in support of Plaintiffs’ Reply In Support of Plaintiffs’ Motion for
 6
     Award of Attorneys’ and Expert Witness Fees and Costs.
 7
           2.     Pursuant to Plaintiffs’ fee petition, Plaintiffs reserved the right to
 8
     request supplemental “fees on fees” for any time spent after September 10, 2023.
 9
     ECF No. 184 at 22. Appendix A to the Reply are Plaintiffs’ supplemental fees and
10
     costs through today, together with the total fees and costs. As detailed there,
11
     Plaintiffs respectfully request that the Court grant their lodestar award of
12
     $1,495,052 (or higher if out-of-forum rates are awarded) in fees and $305,610 in
13
     costs for a total of $1,800,662 (or higher), from which award the $350,000 already
14
     paid by Defendants will be subtracted. ECF No. 181 ¶ 54. Plaintiffs will also
15
     request any further fees and costs incurred after the date of this filing.
16
           3.     Attached hereto as Exhibit 1 are Plaintiffs’ supplemental time entries
17
     and cost substantiation. Three of Ms. van Saun’s entries were accrued prior to
18
     September 10 but were not included in the original fee petition.
19

20

     SECOND DECLARATION OF CHARLES M. TEBBUTT IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF FEES AND COSTS     -2
     Case 1:19-cv-03110-TOR     ECF No. 190-1       filed 10/25/23   PageID.3003 Page 3 of 27




 1         4.     The hourly rates of Defendants’ counsel, obtained through subpoenas

 2   duces tecum to all defense firms in the case, are set out in Appendix B to the

 3   Reply. As noted in the Reply, Sidley Austin’s attorneys refused to provide their

 4   exact rates, but lead counsel Frank Volpe represented in an e-mail to Plaintiffs that

 5   his rate in this matter “was higher than the ‘rate requested’ and the ‘alt. rate

 6   requested-National’ listed for Mr. Tebbutt in Appendix A” of the fee petition, ECF

 7   No. 184. See e-mail exchange attached hereto as Exhibit 2. The latter rate was

 8   $735; the chart in Appendix B, therefore, denotes Mr. Volpe’s rate as “$735+.”

 9   Marten Law’s rates varied for different years; the rates in Appendix B are for the

10   most recent year that Marten Law indicated. Marten Law’s letter denoting all of

11   their rates is attached hereto as Exhibit 3.

12         5.     Amy Van Saun’s time, and that of her colleagues at CFS, was critical

13   to trial preparation. At the time that work was done, Plaintiffs were gearing up for

14   a motion for partial summary judgment similar to the motion that succeeded in the

15   Cow Palace case. The motion for partial summary judgment was put on hold

16   multiple times when it appeared that the parties had an agreement in principle to

17   resolve the case. Negotiations for settlement and trial preparation were going on

18   simultaneously, so all the work was necessary and should be compensated.

19         6.     Defendants also ask the Court to exclude all of Amanda Steiner’s 42

20   hours spent in early 2021 researching RCRA liability. ECF No. 186 at 17.

     SECOND DECLARATION OF CHARLES M. TEBBUTT IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF FEES AND COSTS     -3
     Case 1:19-cv-03110-TOR     ECF No. 190-1     filed 10/25/23   PageID.3004 Page 4 of 27




 1   However, those hours were spent researching one of the most important legal

 2   issues in this case: whether Defendant Austin “Jack” DeCoster, as well as his shell

 3   companies, could be liable under RCRA. Ms. Steiner drafted and circulated to co-

 4   counsel a seven-page, single-spaced memo on this topic that formulated the basis

 5   of Plaintiffs’ motion to add DeCoster. Adding DeCoster as a party was critical to

 6   having this case resolve. Among other theories of liability, the memorandum

 7   clearly and thoroughly analyzed the myriad ways in which Mr. DeCoster exercised

 8   “a measure of control” over Defendants’ waste management practices and was thus

 9   liable under RCRA pursuant to Hinds Investments, L.P. v. Angioli for

10   “contributing” to the disposal of hazardous waste. 654 F.3d 846, 852 (9th Cir.

11   2011). Plaintiffs employed Ms. Steiner’s analysis in their Response in Opposition

12   to Defendants’ Joint Motion to Dismiss, see ECF No. 115 at 18-19, and this Court

13   agreed with that analysis. See ECF No. 134 at 19-20 (“Plaintiffs allege Defendant

14   DeCoster specifically uses Washington Dairy Holdings, LLC and Washington

15   Agri-Investments, LLC to direct the manure operations at the dairies. . . . These

16   allegations . . . are sufficient for the Court to infer that Non-Washington

17   Defendants . . . had a ‘measure of control’ over the manure application and

18   storage.”). That Order put Plaintiffs in a strong position to hold all of the

19   Defendants liable and led Defendants on their eventual path to settlement.

20   Therefore, all of Ms. Steiner’s hours should be compensated.

     SECOND DECLARATION OF CHARLES M. TEBBUTT IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF FEES AND COSTS     -4
     Case 1:19-cv-03110-TOR     ECF No. 190-1     filed 10/25/23   PageID.3005 Page 5 of 27




 1         7.      Mr. Carroll came into this case very late and thus cannot speak to the

 2   time that was spent developing, prosecuting, and negotiating this case. There was

 3   extensive negotiating underway on four different sets of occasions with multiple

 4   different sets of attorneys each time, thus making discussions very difficult due to

 5   the lack of continuity of Defendants’ counsel and surrogates (sometimes Mr.

 6   Glessner and other times no apparent client representative).

 7         8.      I was also never aware that Mr. Carroll was involved in the CARE v

 8   Sunnyside matter. We never had contact in that case and he never made an

 9   appearance.

10         9.      The Declaration of David Erickson goes into further detail of some of

11   the roles he played in the litigation in addition to that which is set forth in my first

12   declaration. Suffice it say that Mr. Erickson played a critical role in this case, both

13   in negotiations and as an expert witness. All of his time should be compensated.

14         10.     I declare under penalty of perjury that the foregoing is true and correct

15   to the best of my knowledge.

16         DATED: October 25, 2023

17
                                                     /s/ Charles M. Tebbutt
18                                                   Charles M. Tebbutt
                                                     Law Offices of Charles M. Tebbutt
19

20

     SECOND DECLARATION OF CHARLES M. TEBBUTT IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF FEES AND COSTS     -5
     Case 1:19-cv-03110-TOR     ECF No. 190-1   filed 10/25/23   PageID.3006 Page 6 of 27




 1                             CERTIFICATE OF SERVICE

 2         I hereby certify that on October 25, 2023, I electronically filed the foregoing
     document, together with all exhibits thereto, on the Court’s CM/ECF filing system,
 3   which will automatically serve the following counsel of record:

 4
           Gary H. Baise                    vthedgerow@aol.com
 5         Jay Carroll                      jcarroll@hnw.law
           Amy van Saun                     avansaun@centerforfoodsafety.org
 6         Toby Marshall                    tmarshall@terrellmarshall.com
           Blythe H. Chandler               bchandler@terrellmarshall.com
 7         Andrea K. Rodgers                andrearodgers42@gmail.com
           Daniel C. Snyder                 dsnyder@publicjustice.net
 8

 9                                                /s/ Jonathan D. Frohnmayer
                                                  Jonathan D. Frohnmayer
10                                                Law Offices of Charles M. Tebbutt
11

12

13

14

15

16

17

18

19

20

     SECOND DECLARATION OF CHARLES M. TEBBUTT IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF FEES AND COSTS     -6
Case 1:19-cv-03110-TOR   ECF No. 190-1   filed 10/25/23   PageID.3007 Page 7 of 27




   Exhibit 1 – Plaintiffs’ Supplemental Fees and Costs
 Case 1:19-cv-03110-TOR         ECF No. 190-1             filed 10/25/23       PageID.3008 Page 8 of 27


 Date       Atty                                Description                                 Time
9/11/23     CT      ph w/ DS re: fee pet & decls (.2); emails to co-counsel re: decls          1.4
9/11/23     CT      CD overright - ph w/ DE re: RI issues                                      0.2
9/12/23     CT      edit J.Mendoza decl (.3); desc w/ A. Rodgers re: decl piece (.2)           2.5
                    work on CT decl & hourly rates (.4); ph w/ JF re: fee pet pieces
                    statue (.2); edit CT decl (.8); review further CT decl edits by AR
                    (.3); comms w/ expert P. Kampaeier re: docs & decl (.3)

9/13/23      CT     work on CT decl (2.3); emails w/ PK re: review (.3); ph w/ JF              3.9
                    & MT re: petition assignments (.5); ph: w/DS re status (.2); ph
                    w/ PK re: his decl questions (.6)
9/14/23      CT     work on fee spreadsheet (.5); memo to counsel re: rates & hours            6.4
                    (.3); cont work on my decl (2.0): ph w/ JF re: brief & decls (.4);
                    work on fee brief (2.0); review Kampaeier decl (1.0); ph w/ PK
                    re: decl issues (.2)
9/15/23      CT     fee petition filing final review of brief, decls, and exhibits (4.8);      5.2
                    ph w/JF re: status (.2); ph w/ Halverson re: overheighten brief
                    (.2)
 9/18/23     CT     corresp w/ client FOTC re: fee petition issues                             0.2
 9/28/23     CT     review emails re: Lag 5 & respond (.3) - CD implementation                 0.3
 10/2/23     CT     Ph w/ JF re: defense rates                                                 0.2
10/10/23     CT     Ph w/ JF re: status of fee petition                                        0.2
10/16/23     CT     read memo in opp to fees (.4); read Montoya decl (.2); read                1.8
                    Carroll decl (.2); read Stephen decl (.2); initial notes for reply
                    (.5); disc w/ AR (.3)
10/17/23     CT     ph w/ DS re: reply issues (.3); review atty rate responses (.2);           2.7
                    email to DE re: reply decl (.2); edit initial draft of reply brief &
                    send w/ memo to JF & DS (2.0)
10/18/23     CT     read brief on fees for work not filed & send to JF (.3); ph w/             1.9
                    DE re: reply decl (.2); work on DE decl (1.4)
10/19/23     CT     work on CT declaration (1.2); ph w JF re reply tasks (.2); edit            2.9
                    reply brief (1.5)
10/20/23     CT     ph w MT re updated hours and reply needs (.2); ph w DE re                  1.2
                    declaration (.2); ph w J Mendoza of FOTC re fees reply issues
                    (.4); review email and respond re Volpe rates (.2); ph w JF re
                    reply brief issues (.2)
10/23/23     CT     ph w DS re reply issues (.2); ph w JF re reply issues (.2)                 0.4
10/24/23     CT     edit CT and DE declarations (.5); edit reply brief (.7); ph w JF           1.4
 Total              re reply issues (.2)                                                      32.8


  Date   Secretary                         Description                                      Time
10/23/23    MT     Review and compile costs and CT hours for Reply                             0.5




                                      Second Tebbutt Declaration - Exhibit 1                         1
  Case 1:19-cv-03110-TOR        ECF No. 190-1             filed 10/25/23       PageID.3009 Page 9 of 27


 Date      Atty                                     Description                                   Time
9/11/23    DS     Call with CT re: fee petition (.2); rev edits from CT on Mot for Fees and        0.5
                  Costs, consider (.3)
 9/12/23   DS     Rev DCS declaration and timesheet, make edits                                    1.0
 9/12/23   DS     Rev CMT decl, edits, emails re: same                                             0.7
 9/12/23   DS     Rev email from FV re: SDT, consider, call re: same, respond                      0.2
 9/13/23   DS     Calls with CT and MT re: fee petition status and needs                           0.6
 9/14/23   DS     Finalize PJ materials for fee petition: final spreadsheet and decl               2.0
10/16/23   DS     Review DBD fee opposition - Response, Three Declarations. Consider               2.1
                  response. Take notes.
10/17/23   DS     Rev cases, add'l case law research for reply brief.                              1.7
10/17/23   DS     Draft and edit first round fee reply (4.1), call w/ CT re: same (.4); careful    5.7
                  comparison of WA CAFO Permit and CD (1.2).
10/17/23   DS     Rev and consider first edition of CT Decl for content, rev email re: same;       0.4
                  rev email to DE re: need for add'l decl, consider.
10/17/23   DS     Emails to opposing counsel re: need for hourly rates now that DBD                0.3
                  contested our rates
10/18/23   DS     Rev emails from CT and JF re: fee reply declarations and edits, consider.        0.3
10/23/23   DS     Call with CT x2 to discuss status of fee reply and declarations                  0.3
10/24/23   DS     Review newest versions of Reply, CT declaration, Erickson declaration,           3.2
                  and compare against D's filings. Edit and revise. Consider, then send email
                  to team re: same.
10/24/23   DS     Billing for fees-on-fees.                                                         0.5
10/25/23   DS     Review near finals and emails re same.                                            0.3
 Total                                                                                             19.8




                                      Second Tebbutt Declaration - Exhibit 1                         2
Case 1:19-cv-03110-TOR          ECF No. 190-1            filed 10/25/23        PageID.3010 Page 10 of 27


 Date      Atty                                       Description                                   Time
            JF
                  Continue revising fee petition and CT declaration and circulate draft to all
 9/11/23
                  attorneys (1.8); further revise CT declaration and circulate draft (3.7)
                                                                                                      5.5
           JF     Revise CT, DS, and Jean Mendoza declaration (2.3); revise fee spreadsheet
                  for all attorneys (1.2); further revise CT declaration to incorporate AR
                  comments (0.8); discuss status of fee petition with CT (0.2); compile
 9/12/23          personal fees (1.0)                                                                 5.3
           JF     Revise fee petition re: Laffey and USAO rates (0.4); call with CT re fee
                  petition status (0.4); revise time entries (1.2); update all timekeepers fee
 9/13/23
                  spreadsheet and circulate to CT and DS (3.0); further revise based on
                  different inflation number (0.4)                                                    5.4
           JF
                  Revise total fee spreadsheet (0.5); revise and circulate Mendoza and
                  Rodgers declarations (0.5); call with CT to discuss status and strategy (0.4);
                  further revise fee petition re: overall rates and Mendoza statements (1.3);
                  further revise CT decl. (2.4); further revise overall fees for PJ’s final hours
 9/14/23
                  (0.1); review Kampmeier decl. (0.1); correspond with TM regarding
                  updated fees (0.2); review TM declaration (0.2); revise fee petition and CT
                  declaration in parallel and update total fee Appendix (2.1); work on total
                  costs spreadsheet (0.7); revise DS, AKR, CT, and TM declarations and
                  circulate to all relevant parties (1.9)                                            10.4
           JF     Call with CT re status of all filings (0.2); call with AVS re: declaration
                  (0.1); revise AVS, AKR, and Snyder declarations and circulate to relevant
                  parties (0.5); call with P. Kampmeier (0.2); revise fee petition re:
 9/15/23          Kampmeier decl. and total fees and costs (3.3); finalize and circulate near-
                  final CT decl. (1.3); review near-final brief (0.4); review motion for
                  overlength brief (0.5); prepare all documents for filing and file (3.5); update
                  file (0.2)                                                                         10.2
           JF
 9/18/23          Review correspondence between CT and Court re: overlength motion (0.2)              0.2
 9/29/23   JF     Correspond with CT re opposing attorney fee chart (0.2)                             0.2
 10/2/23   JF     Call with CT re opposing counsel fees (0.2)                                         0.2
 10/3/23   JF     Prepare opposing counsel fee listing and circulate to CT (1.0)                      1.0
10/10/23   JF     Discuss status and strategy with CT (0.2)                                           0.2
10/16/23   JF     Review Defendants’ opposition to fee award (1.8)                                    1.8
           JF     Review correspondence from CT and DS re reply to fee petition (0.3);
                  review correspondence between DS and Frank Volpe/Kent Krabill re
10/17/23
                  defense counsel fees (0.2); call with CT re status (0.2); revise Reply draft
                  (3.9)                                                                               4.6
           JF     Review correspondence from CT re fee petition (0.1); revise fee opposition
                  and circulate drafts to CT and DS (3.0); review correspondence from
10/18/23          Franke Volpe and discuss with CT and DS (0.2); draft and circulate second
                  Tebbutt declaration and review prior docket entries and AS memo in
                  connection with same (5.1)                                                          8.4


                                      Second Tebbutt Declaration - Exhibit 1                          3
 Case 1:19-cv-03110-TOR       ECF No. 190-1             filed 10/25/23        PageID.3011 Page 11 of 27


            JF   Review correspondence from CT re DE declaration (0.1); call with CT to
                 discuss status of Reply (0.2); work on Erickson declaration and circulate to
                 DE and CT (2.7); correspond with AVS, BC, and AKR re fees on fees
                 request (0.4); correspond with Frank Volpe re subpoena for rates (0.2);
                 review CT edits to Reply, make further revisions, and circulate to co-
                 counsel (1.5); review fees on fees for DS (0.1); edit CT declaration (0.2);
                 prepare personal time sheet (0.3); follow up with Jeff Kray re subpoena
 10/19/23        (0.2); correspond with DS re status of Reply (0.1)                                  6.0
            JF   Call with CT re status of Reply and declarations (0.2); review current drafts
                 of filings (0.1); review further correspondence from Frank Volpe and
 10/20/23        correspond with DS and CT re same (0.2); further revise Reply and CT
                 declaration and circulate same to DS and CT (1.8); circulate items to Jean
                 Mendoza (0.1)                                                                       2.4
            JF   Correspond with DS re Reply and CT declaration (0.1); correspond with
                 BC, AKR, and CT re additional time entries (0.3); correspond with Jeff
                 Kray re Marten counsel rates (0.1); correspond with DE re declaration and
                 supplemental fees (0.4); call with CT re status of Reply (0.2); draft revised
 10/23/23        total fees and costs appendix (1.1); revise Erickson Declaration and compile
                 exhibits (1.7); review CT timesheet (0.3); draft and circulate timesheet to
                 AKR (0.2); compile time entry for Marisela Taylor (0.1); review exhibits
                 for CT declaration (0.1); review correspondence from B. Chandler re
                 supplemental fees (0.1)                                                             4.7
            JF   Review DS edits to Reply, CT declaration, and DE declaration, revise same
                 and opposing counsel rates exhibit and circulate near-final drafts of same
                 (2.0); correspond further with DS re drafts and review and edit CT edits to
 10/24/23        all documents (1.4); circulate near-final Erickson declaration to DE (0.5);
                 finalize Appendix B (0.3); finalize Appendix A (0.9); revise and format all
                 timesheets (0.5); make final edits on CT declaration and Reply and circulate
                 to CT and DS (0.5)                                                                  6.1
10/25/23    JF   Prepare all documents for filing                                                    4.0
Total                                                                                               76.6




                                     Second Tebbutt Declaration - Exhibit 1                          4
Case 1:19-cv-03110-TOR         ECF No. 190-1            filed 10/25/23        PageID.3012 Page 12 of 27
                                  Law Offices of Andrea K. Rodgers
                               3026 NW Esplanade, Seattle, WA 98117
                                         T: (206) 696-2851
                                Email: andrearodgers42@gmail.com


  Date    Atty   Task                                                               Hrs
9/12/23   AR     Rev. and edit CT decl.                                             0.3
9/12/23   AR     Draft and circulate AKR decl.                                      0.7
                 TOTAL                                                               1




                                     Second Tebbutt Declaration - Exhibit 1                          5
Detail By Person
    Case 1:19-cv-03110-TOR ECF No. 190-1 filed 10/25/23 PageID.3013 Page 13 of 27

Date Range: 4/1/2023 - 10/19/2023
Person       Matter                Date         Task               Comment                                                      Hours
Amy Van Saun
              CAFO - C10 Yakima
                                   8/28/2023    Administrative     draft atty declaration for CFS hours in DBD/SMD                2.60
                                   8/31/2023    Administrative     SMD/DBD declaration for CFS hours for fee petition             0.50
                                   9/12/2023    Administrative     revise declaration in support of fee petition for CFS          0.40
                                                                   timekeepers
                                   9/14/2023    Administrative     review spreadsheet for all timekeepers for accuracy of         0.20
                                                                   CFS timekeepers
                                   9/15/2023    Administrative     review final declaration and timesheet/hourly rates            0.30
                                                                                                  CAFO - C10 Yakima Total:        4.00
                                                                                                       Amy Van Saun Total:        4.00
                                                                                                                 Grand Total      4.00




                                                        Second Tebbutt Declaration - Exhibit 1                                   6
       Prepared by ClickTime on 10/19/2023 1:10:43 PM           www.clicktime.com                                           Page 1 of 1
 Case 1:19-cv-03110-TOR   ECF No. 190-1           filed 10/25/23        PageID.3014 Page 14 of 27


 DATE      INITIALS                      NARRATIVE                                    UNITS
                          Revised declaration supporting motion for
 9/13/23 BHC                                                                               0.6
                          fees and exhibits to same [.6].
                          Worked on declaration supporting motion
 9/14/23 BHC              for fees, time records, and motion for fees                      1.5
                          [1.5].
                          Reviewed final revisions to fees declaration
 9/15/23 BHC                                                                               0.2
                          and approved same [.2].
TOTAL                                                                                      2.3




                               Second Tebbutt Declaration - Exhibit 1                            7
            Case
10/25/23, 12:17 PM 1:19-cv-03110-TOR        ECF No. 190-1 Mail
                                                           filed
                                                               - Jon10/25/23        PageID.3015 Page 15 of 27
                                                                    Frohnmayer - Outlook



      Expenses on Declaration 10/25/23
      Dave Erickson <derickson@waterenvtech.com>
      Wed 10/25/2023 12:15 PM
      To:Jon Frohnmayer <jon@tebbuttlaw.com>
      3.75 Hours at $300/hr = $1125




        David Erickson PG CPG
        Founder/Principal
        P: (406) 782-5220
        C: (406) 490-2915
        [waterenvtech.com]waterenvtech.com




                                                   Second Tebbutt Declaration - Exhibit 1                               8
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQAHl7q3t3YkQWmedOBE614FQ%3D   1/1
   Case 1:19-cv-03110-TOR              ECF No. 190-1           filed 10/25/23        PageID.3016 Page 16 of 27


                           Date                             LOCMT costs                      Account    Amount

Research Services
                          09/30/2023     PACER                                              Research        86.50
                          09/30/2023     lexis nexis                                        Research       207.83
                          10/22/2023     PACER                                              Research        81.40
                          10/22/2023     lexis nexis                                        Research       186.15
Total Research Services                                                                                    561.88




                                            Second Tebbutt Declaration - Exhibit 1                          9
Case 1:19-cv-03110-TOR   ECF No. 190-1   filed 10/25/23   PageID.3017 Page 17 of 27




      Exhibit 2 – E-mail Exchange with Sidley Austin
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR                                                                                                                                                                                                                            ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                                                                                                                                                                                                                                    - Jon Frohnmayer    PageID.3018 Page 18 of 27
    RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum
    Volpe, Frank R. <fvolpe@sidley.com>
    Fri 10/20/2023 12:33 PM
    To:Jon Frohnmayer <jon@tebbuttlaw.com>
    Cc:Charlie Tebbutt <Charlie@tebbuttlaw.com>;Dan Snyder <dsnyder@publicjustice.net>;Fradette, Jacquelyn E <jfradette@sidley.com>
    Jon:

    Thanks for your email. Reviewing the Kerr case that you rely upon to support your petition, here are the relevant factors: “(1)
    the time and labor required, (2) the novelty and difficulty of the questions involved, (3) the skill requisite to perform the legal
    service properly, (4) the preclusion of other employment by the attorney due to acceptance of the case, (5) the customary fee,
    (6) whether the fee is fixed or contingent, (7) time limitations imposed by the client or the circumstances, (8) the amount
    involved and the results obtained, (9) the experience, reputation, and ability of the attorneys, (10) the "undesirability" of the
    case, (11) the nature and length of the professional relationship with the client, and (12) awards in similar cases.” I don’t see
    the Defendants’ choice of counsel or the fees paid to that counsel as being a relevant consideration.
    Sidley worked on limited aspects of the case (primarily, the motion to dismiss and Mr. DeCoster’s deposition). We still have a
    hard time seeing what the Firm’s rates for work on this matter have to do with what rates the Court might grant Plaintiffs’
    counsel. I also don’t believe the fact that other firms gave you the information you requested is a relevant consideration. I
    don’t know why they provided you the information. In any event, if they did, it sounds like you have sufficient information to
    make the point you want to make.

    Without waiving our objection to providing more detailed information, I can represent to you that my billing rate for this matter
    was higher than the “rate requested” and the “alt. rate requested-National” listed for Mr. Tebbutt in Appendix A of your fee
    petition. I trust that representation will suffice for your purposes.

    Regards, Frank
    FRANK R. VOLPE


    SIDLEY AUSTIN LLP
    +1 202 736 8366
    fvolpe@sidley.com


           From: Jon Frohnmayer <jon@tebbuttlaw.com>
           Sent: Thursday, October 19, 2023 2:42 PM
           To: Volpe, Frank R. <fvolpe@sidley.com>
           Cc: Charlie Tebbutt <Charlie@tebbuttlaw.com>; Dan Snyder <dsnyder@publicjustice.net>; Fradette, Jacquelyn E <jfradette@sidley.com>
           Subject: Re: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

           Frank: as you know, Defendants argue in their response that Plaintiffs should not be entitled to non-forum rates because local counsel would have been adequate. The fact that Defendants used multiple national law firms charging significantly




           Frank: as you know, Defendants argue in their response that Plaintiffs should not be entitled to non-forum rates because local counsel would have been
           adequate. The fact that Defendants used multiple national law firms charging significantly higher rates than the forum rates for which Defendants argue,
           which we can only assume is true for Sidley Austin, directly undercuts that argument. Multiple other firms, including Lynn Pinker Hurst and Olsson Frank
           Weeda, already complied with our subpoena, and no one else has refused to do so. We reiterate our request to you and will contest a motion to quash. Thank
           you.


           From: Volpe, Frank R. <fvolpe@sidley.com>
           Sent: Wednesday, October 18, 2023 11:30 AM
           To: Dan Snyder <dsnyder@publicjustice.net>; Fradette, Jacquelyn E <jfradette@sidley.com>
           Cc: Charlie Tebbutt <Charlie@tebbuttlaw.com>; Jon Frohnmayer <jon@tebbuttlaw.com>
           Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum


           Dan: I have reviewed the attorney fee pleadings (and the caselaw cited therein) and while I do not have a view on either side’s substantive positions
           as to whether additional fees should be awarded, I am confident that the hourly rates of Sidley attorneys in DC have no relevance to what hourly rates
           the Court should use in determining what, if anything, Plaintiffs’ counsel should be awarded. I ask that you withdraw your subpoena, so we don’t
           have to move to quash it.

           Regards,
           Frank

           FRANK R. VOLPE


           SIDLEY AUSTIN LLP
           +1 202 736 8366
           fvolpe@sidley.com




                                                                                            From: Dan Snyder <dsnyder@publicjustice.net>
                                                                                            Sent: Tuesday, October 17, 2023 8:41 AM
                                                                                            To: Volpe, Frank R. <fvolpe@sidley.com>; Fradette, Jacquelyn E <jfradette@sidley.com>                                                                                                                                             1
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…                                                                                                                                                                                                        1/7
                                                            Second Tebbutt Declaration - Exhibit 2
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR                                                                                                                                                                                                                                ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                                                                                                                                                                                                                                        - Jon Frohnmayer    PageID.3019 Page 19 of 27
               Cc: Charlie Tebbutt <Charlie@tebbuttlaw.com>; jon@tebbuttlaw.com
               Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

               Dear Frank – Defendants did indeed contest our hourly rates, and we are therefore seeking compliance with the subpoena duces tecum for which you accepted service on behalf of Sidley Austin. Fee opposition attached. Please provide us with the




               Dear Frank – Defendants did indeed contest our hourly rates, and we are therefore seeking compliance with the subpoena duces tecum for which you
               accepted service on behalf of Sidley Austin. Fee opposition attached.



               Please provide us with the hourly rate required documentation ASAP.



               Best,



               Dan




               Daniel C. Snyder

               Director

               The Environmental Enforcement Project

               Public Justice

               Pronouns: he/him

               1620 L Street NW, Suite 630

               Washington, DC 20036

               202-861-5251

               dsnyder@publicjustice.net

               www.publicjustice.net



               Injustice is America’s enemy. Join our fight to secure justice for all.




                                                                                                                                                                                                                                                                                                                                  2
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…                                                                                                                                                                                                            2/7
                                                            Second Tebbutt Declaration - Exhibit 2
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR              ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                      - Jon Frohnmayer    PageID.3020 Page 20 of 27




               From: Volpe, Frank R. <fvolpe@sidley.com>
               Sent: Wednesday, September 13, 2023 11:04 AM
               To: Dan Snyder <dsnyder@publicjustice.net>; Fradette, Jacquelyn E <jfradette@sidley.com>
               Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

               Dan:
                                                                                                                      3
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…   3/7
                                                            Second Tebbutt Declaration - Exhibit 2
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR                                                                                                                                                                                                                                     ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                                                                                                                                                                                                                                             - Jon Frohnmayer    PageID.3021 Page 21 of 27

               We’ll accept service of the subpoena if you agree to stay compliance with it as you and the other side sort out your positions. We reserve all
               objections to the subpoena and the information it seeks.

               Regards, Frank

               FRANK R. VOLPE


               SIDLEY AUSTIN LLP
               +1 202 736 8366
               fvolpe@sidley.com




                      From: Dan Snyder <dsnyder@publicjustice.net>
                      Sent: Tuesday, September 12, 2023 3:15 PM
                      To: Volpe, Frank R. <fvolpe@sidley.com>; Fradette, Jacquelyn E <jfradette@sidley.com>
                      Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

                      Frank – Please provide an update when you can. Thank you. Dan From: Volpe, Frank R. <fvolpe@ sidley. com> Sent: Friday, September 8, 2023 3: 58 PM To: Dan Snyder <dsnyder@ publicjustice. net>; Fradette, Jacquelyn E <jfradette@ sidley. com>




                      Frank – Please provide an update when you can. Thank you.



                      Dan




                      From: Volpe, Frank R. <fvolpe@sidley.com>
                      Sent: Friday, September 8, 2023 3:58 PM
                      To: Dan Snyder <dsnyder@publicjustice.net>; Fradette, Jacquelyn E <jfradette@sidley.com>
                      Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

                      We are seeking approval to provide you the requested information without the need for the subpoena. We hope to resolve the issue by
                      Monday.

                      Sent with BlackBerry Work
                      (www.blackberry.com)


                      From: Dan Snyder <dsnyder@publicjustice.net>
                      Date: Thursday, Sep 07, 2023 at 4:46 PM
                      To: Volpe, Frank R. <fvolpe@sidley.com>, Fradette, Jacquelyn E <jfradette@sidley.com>
                      Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

                      Thanks for the reply, Frank. The case was settled by Consent Decree, and Defendants had an opportunity to pay Plaintiffs’ fees and cost demand, or to litigate they issue. Defendants have chosen to litigate, with our fee petition due to




                      Thanks for the reply, Frank. The case was settled by Consent Decree, and Defendants had an opportunity to pay Plaintiffs’ fees and cost
                      demand, or to litigate they issue. Defendants have chosen to litigate, with our fee petition due to the Court on 9/15.



                      As Exhibit A to the SDT states, we are only looking for responsive records in the event Defendants challenge our hourly rates. If you will
                      agree to accept service, we can stay compliance with the subpoena pending the arguments that Defendants raise. Of course, I’m always
                      willing to consider other options, which you suggest in your email may be a possibility.



                      Best,


                                                                                                                                                                                                                                                                                                                                       4
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…                                                                                                                                                                                                                 4/7
                                                            Second Tebbutt Declaration - Exhibit 2
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR                                                                                                                                                                                                                                    ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                                                                                                                                                                                                                                            - Jon Frohnmayer    PageID.3022 Page 22 of 27
                     Dan




                     From: Volpe, Frank R. <fvolpe@sidley.com>
                     Sent: Thursday, September 7, 2023 3:17 PM
                     To: Dan Snyder <dsnyder@publicjustice.net>; Fradette, Jacquelyn E <jfradette@sidley.com>
                     Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

                     We think there are other ways to get you the information without issuing a subpoena. As you know, we are no longer in the case so we
                     don’t know where the discussions currently stand with regard to fees. I understood there was an agreement as to fees. Seems I’m
                     wrong. We will get back to you. Please hold off issuing a subpoena. Is there some urgency to your request?

                     Sent with BlackBerry Work
                     (www.blackberry.com)


                     From: Dan Snyder <dsnyder@publicjustice.net>
                     Date: Thursday, Sep 07, 2023 at 3:16 PM
                     To: Volpe, Frank R. <fvolpe@sidley.com>, Fradette, Jacquelyn E <jfradette@sidley.com>
                     Subject: RE: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

                     Greetings Counsel, I just tried reaching Jacquelyn at her listed number. Can one of you please respond today and let me know if you will accept service of the subpoena provided below? Thank you, Dan From: Dan Snyder Sent: Friday, September




                     Greetings Counsel,



                     I just tried reaching Jacquelyn at her listed number. Can one of you please respond today and let me know if you will accept service of the
                     subpoena provided below?



                     Thank you,



                     Dan




                     From: Dan Snyder
                     Sent: Friday, September 1, 2023 1:26 PM
                     To: Volpe, Frank R. <fvolpe@sidley.com>; Fradette, Jacquelyn E <jfradette@sidley.com>
                     Cc: Charlie Tebbutt <Charlie@tebbuttlaw.com>; 'Amy van Saun' <AvanSaun@centerforfoodsafety.org>; jon@tebbuttlaw.com
                     Subject: CARE et al. v. DBD Washington LLC et al., 1:19-cv-3110 - Subpoena Duces Tecum

                     Dear Frank and Jacquelyn,



                     Please find attached for service a subpoena duces tecum directed at Sidley Austin LLP in the above-captioned case.



                     If you do not accept service of this subpoena by email on behalf of your firm, then please let us know ASAP and no later than next
                     Wednesday, September 6, and we will incur the costs of having a process server serve the subpoena on you. Please note that we will seek to
                     recover these costs against Defendants in a supplemental fee petition.



                     Sincerely,



                     Dan




                                                                                                                                                                                                                                                                                                                                      5
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…                                                                                                                                                                                                                5/7
                                                            Second Tebbutt Declaration - Exhibit 2
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR                ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                        - Jon Frohnmayer    PageID.3023 Page 23 of 27




                     Daniel C. Snyder

                     Senior Attorney

                     The Environmental Enforcement Project

                     Public Justice

                     Pronouns: he/him

                     1620 L Street NW, Suite 630

                     Washington, DC 20036

                     202-861-5251

                     dsnyder@publicjustice.net

                     www.publicjustice.net



                     Injustice is America’s enemy. Join our fight to secure justice for all.




                                                                                                                      6
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…   6/7
                                                            Second Tebbutt Declaration - Exhibit 2
            Case
10/20/23, 1:22 PM 1:19-cv-03110-TOR                ECF No. 190-1 Mailfiled    10/25/23- Outlook
                                                                        - Jon Frohnmayer    PageID.3024 Page 24 of 27




                     ****************************************************************************************************
                     This e-mail is sent by a law firm and may contain information that is privileged or confidential.
                     If you are not the intended recipient, please delete the e-mail and any attachments and notify us
                     immediately.
                     ****************************************************************************************************


                                                                                                                            7
https://outlook.office365.com/mail/inbox/id/AAQkADk4NzRlM2ZiLWYyMjctNGI2ZC05NTlmLTlmNDRhM2Q4YmRjNQAQADN7D8vF%2BEUhmuFUkGiMA…    7/7
                                                            Second Tebbutt Declaration - Exhibit 2
Case 1:19-cv-03110-TOR   ECF No. 190-1   filed 10/25/23   PageID.3025 Page 25 of 27




           Exhibit 3 – Marten Law Fee Rate Letter
Case 1:19-cv-03110-TOR                ECF No. 190-1             filed 10/25/23         PageID.3026 Page 26 of 27




    October 23, 2023



    Via email

    Mr. Charles M. Tebbutt
    Law Offices of Charles M. Tebbutt, P.C.
    941 Lawrence Street
    Eugene, OR 97401
    charlie@tebbuttlaw.com


    Re:     CARE, et al. v. Washington Dairy Holdings, LLC, et al.,
            No. 1:19-cv-03110-TOR
            Subpoena Duces Tecum to Marten Law, LLP


    Dear Charlie:

    In response to the Subpoena Duces Tecum served on Marten Law, LLP (“Marten”)
    on September 1, 2023, I am providing the following information concerning
    Marten’s hourly rates:

      Marten Employee                   Title         2019 Rate           2020 Rate        2021 Rate        2022 Rate
    Brad Marten                      Partner                                                  $890             $890
    Jeff Kray                        Partner              $515           $515/$495            $495         $495/$625
    Jessica Ferrell                  Partner                                                  $410
    Stephen Odell                    Partner                             $495/$435            $435
    Lawson Fite                      Partner                                              $625/$675             $675
    Jennifer Hammitt                 Associate           $385                 $385
    Merissa Moeller                  Associate            $315
    Alexa Shasteen                   Associate                                $315
    Michael Smith                    Associate                                $280
    Sara Cloon                       Associate                                                $465              $465
    Ana Nina                         Associate                                                $355
    Jack Ross                        Associate                                                $345
    Kameron Schroeder Associate                                                                                 $405



                                                                                                                        1
          D - 206 . 292 . 2608   |   E - jkray@martenlaw.com    |   1191 Second Ave, Suite 2200, Seattle, WA 98101

                                             Second Tebbutt Declaration - Exhibit 3
Case 1:19-cv-03110-TOR ECF No. 190-1                filed 10/25/23        PageID.3027 Page 27 of 27
    Mr. Charles M. Tebbutt
    October 23, 2023
    Page 2

      Marten Employee        Title        2019 Rate           2020 Rate     2021 Rate   2022 Rate
    Zachary Zahner        Associate                                                       $405
    Marina Goodrich       Paralegal $235/$280                     $280        $280        $280
    Erin Herlihy          Paralegal                               $165        $165        $165
    David Baker           Paralegal                               $235

    Marten Law, LLP contends that this letter satisfies the September 1, 2023,
    Subpoena Duces Tecum directed to it in this action. Please confirm that no further
    response to the Subpoena Duces Tecum is required.

    Sincerely,




    Jeff Kray




                                                                                                    2

                                 Second Tebbutt Declaration - Exhibit 3
